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  ELIZABETH SINE S,E'r A L.,                              C ase N o.3:17-cv-00072-N K H

  Plaintiffs,                                             H on.N orm an K .M oon
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                         BY DEFENDANT M ICHAEL PtINOVICH
         DefendantM ichael'
                          Peinoviùh,Pro Se,forthereasonssetforth intheaccompanying

  M em orandum in Support,movesthisHonorableCourtto stay discovery pending resolution of

  Peinovich'sm otion to dism issPlaintiffs'Am ended Com plaintpurstlantto Fed.R.Civ.P.

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